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      A         B          C      D           E               F               G           H           I             J              K             L


                               Sp Cnsl                                                 Alabama   Alabama       Belleau     Belleau
1                       Case   hours   Sp Cnsl fees     ADM Hours       ADM Fees       Hours     Fees          Woods hours Fees             Arab hours

 2 Atty/Para Rate
 3 JPK        $175.00             63.80 $   11,165.00              15.60 $ 2,730.00        0.40 $      70.00                 $          -            1.30
 4 JLW        $175.00              7.80 $    1,365.00              74.00 $ 12,950.00      17.30 $   3,027.50                 $         -             1.50
 5 ADS        $175.00             51.70 $    9,047.50              41.00 $ 7,175.00       40.50 $   7,087.50            0.80 $     140.00            1.40
 6 TJF        $125.00             55.00 $    6,875.00               7.60 $    950.00       2.30 $     287.50                 $          -            0.60
 7 KDK        $175.00                   $           -                    $         -            $         -                  $          -
 8 HKM        $175.00                   $           -               4.60 $    805.00            $         -                  $          -
 9 SER        $175.00              2.00 $      350.00             104.10 $ 18,217.50            $         -                  $          -
10 Total                                                                                                                     $          -
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         M           N           O          P                Q             R             S         T           U           V            W           X


                  Ashville Ashville                                                            Berg                  Billingsley Billingsley     Blanton
1 Arab fees       Hours    Fees         B&B Hours   B&B Fees          Beard Hours   Beard Fees Hours       Berg Fees Hours       Fees            Hours

 2
 3   $   227.50       0.30 $    52.50           2.40 $       420.00            0.60 $   105.00         0.20 $ 35.00         1.30 $      227.50
 4   $   262.50      15.20 $ 2,660.00           0.10 $        17.50            2.30 $   402.50              $      -       15.70 $    2,747.50       1.30
 5   $   245.00      24.40 $ 4,270.00           3.70 $       647.50            3.70 $   647.50         1.00 $ 175.00       21.50 $    3,762.50       4.00
 6   $    75.00       2.30 $   287.50                $            -            0.50 $    62.50              $      -        2.10 $      262.50       0.20
 7   $        -            $       -                 $            -                 $        -              $      -             $           -
 8   $        -            $       -                 $            -                 $        -              $      -             $           -
 9   $        -            $       -                 $            -                 $        -              $      -             $           -
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          Y           Z              AA              AB              AC              AD              AE          AF           AG          AH        AI         AJ

                  Bradbury &                                                                                   Carroll
  Blanton         York       Bradbury &        Breitsprecher   Breitsprecher   Buckhorn        Buckhorn        Co.     Carroll Co.      Cav                  Chase
1 Fees            Hours      York Fees         Hours           Fees            Cattle Hours    Cattle Fees     Hours Fees               Hours   Cav Fees     hours

 2
 3   $        -            0.40 $      70.00                   $          -                1.90 $     332.50      1.00 $       175.00     0.30 $     52.50
 4   $   227.50            9.40 $   1,645.00                   $          -                     $         -      10.70 $     1,872.50     0.10 $     17.50
 5   $   700.00           16.20 $   2,835.00              5.90 $    1,032.50              24.60 $   4,305.00     17.10 $     2,992.50     4.50 $    787.50     0.40
 6   $    25.00            1.70 $     212.50                   $          -                     $         -       2.00 $       250.00     0.20 $     25.00
 7   $        -                 $          -                   $          -                     $         -            $            -          $        -
 8   $        -                 $          -                   $          -                     $         -            $            -          $        -
 9   $        -                 $          -                   $          -                     $         -            $            -          $        -
10   $        -
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         AK         AL       AM           AN            AO          AP       AQ          AR             AS         AT        AU          AV


  Chase          Chastain Chastain   Christenson   Christenson   Circle M Circle M   Cornelison   Cornelison      ECC                   Elder
1 Fees           Hours    Fees       Hours         Fees          Hours    Fees       Hours        Fees            hours ECC fees        hours

 2
 3   $       -            $      -                  $       -             $     -             3.10 $     542.50    0.60 $      105.00    0.80
 4   $       -            $      -             0.40 $    70.00       0.50 $ 87.50             0.80 $     140.00         $          -
 5   $   70.00       0.60 $ 105.00             4.40 $   770.00       0.50 $ 87.50             7.60 $   1,330.00   17.60 $    3,080.00    1.60
 6   $       -            $      -                  $       -        0.80 $ 100.00            0.10 $      12.50         $          -
 7   $       -            $      -                  $       -             $     -                  $         -          $          -
 8   $       -            $      -                  $       -             $     -                  $         -          $          -
 9   $       -            $      -                  $       -             $     -                  $         -          $          -
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         AW              AX             AY              AZ          BA           BB            BC            BD            BE        BF       BG


                                                     Ft. Payne Ft. Payne     Garrett                     Gettlefinger Gettlefinger Grove
1 Elder fees       Farris Hours   Farris Fees        hours     fees          hours        Garrett fees   hours        fees         hours Grove fees

 2
 3   $    140.00                   $            -         4.60 $   805.00          1.90   $   332.50              0.20 $    35.00    0.20 $    35.00
 4   $        -                    $            -        51.80 $ 9,065.00                 $       -               2.70 $   472.50    0.60 $ 105.00
 5   $    280.00              0.30 $         52.50       40.20 $ 7,035.00         11.00   $ 1,925.00              2.80 $   490.00    6.70 $ 1,172.50
 6   $        -                    $            -         0.70 $    87.50                 $       -               0.40 $    50.00         $       -
 7   $        -                    $            -              $       -                  $       -                    $        -    0.50 $    87.50
 8   $        -                    $            -              $       -                  $       -                    $        -         $       -
 9   $        -                    $            -              $       -                  $       -                    $        -         $       -
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       BH             BI        BJ        BK        BL           BM          BN         BO          BP        BQ         BR            BS


  Randy Hoover Randy Hoover J. Hoover J. Hoover Hume        Hume         Hustbourne Hustbourne                        Jenny-Ann Jenny-Ann
1 & Sons hours & Sons fees  hours     fees      hours       Fees         hours      fees         J&L hours J&L fees   hours     fees

 2
 3          2.80 $     490.00         $      -               $      -               $       -         0.30 $ 52.50                 $        -
 4          4.30 $     752.50    0.10 $   17.50              $      -          1.00 $   175.00        3.10 $ 542.50                $        -
 5          7.50 $   1,312.50         $      -          0.40 $   70.00        11.00 $ 1,925.00        1.70 $ 297.50           2.60 $   455.00
 6          0.70 $      87.50         $      -               $      -               $       -         0.20 $ 25.00                 $        -
 7               $          -         $      -               $      -               $       -              $      -                $        -
 8               $          -         $      -               $      -               $       -              $      -                $        -
 9               $          -         $      -               $      -               $       -              $      -                $        -
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      BT            BU         BV      BW        BX         BY           BZ        CA         CB       CC       CD        CE          CF

                                                                                                                                   Martin
                             Krantz Krantz     Kropf                  Loveland Loveland     Macon            Manthey Manthey       Farms
1 K&S hours    K&S Fees      hours fees        hours   Kropf fees     hours    fees         hours Macon fees hours   fees          hours

 2
 3              $        -     1.40 $ 245.00     6.60 $    1,155.00       0.20 $    35.00     0.40 $    70.00    1.40 $   245.00
 4              $        -     1.20 $ 210.00    13.20 $    2,310.00       2.30 $   402.50    17.10 $ 2,992.50    2.00 $   350.00       0.10
 5         3.80 $   665.00     1.80 $ 315.00    24.10 $    4,217.50       2.10 $   367.50    16.10 $ 2,817.50    6.30 $ 1,102.50       0.30
 6              $        -     1.30 $ 162.50     0.80 $      100.00       0.40 $    50.00     1.30 $ 162.50      0.60 $    75.00       1.90
 7              $        -          $      -          $          -             $        -          $       -          $       -
 8              $        -          $      -          $          -             $        -          $       -          $       -
 9              $        -          $      -          $          -             $        -          $       -          $       -
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        CG      CH       CI       CJ            CK         CL          CM           CN          CO          CP          CQ             CR

                               NW          NW
  Martin     Musick            Alabama     Alabama      PBI Bank   PBI Bank                              Peoples                  D. Phillips
1 Farms fees hours Musick fees hours       fees         hours      fees         Parker hours Parker fees hours     Peoples fees   hours

 2
 3   $      -        $      -               $      -         2.00 $    350.00          8.10 $ 1,417.50            $          -              0.60
 4   $ 17.50         $      -               $      -         1.80 $    315.00               $        -      16.90 $    2,957.50
 5   $ 52.50    0.40 $   70.00         0.20 $   35.00        4.40 $    770.00         38.80 $ 6,790.00      14.80 $    2,590.00             1.60
 6   $ 237.50        $      -               $      -         0.60 $     75.00               $        -       1.30 $      162.50
 7   $      -        $      -               $      -              $         -               $        -            $          -
 8   $      -        $      -               $      -              $         -               $        -            $          -
 9   $      -        $      -               $      -              $         -               $        -            $          -
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         CS          CT          CU              CV           CW           CX           CY        CZ          DA             DB           DC       DD
                                           Providence   Providence
                                           Property     Property                                                        S.            S.
  D. Phillips     R. Rawls                 Management   Management     River Bend   River Bend Brad R.                  Coffeyville   Coffeyville Salem
1 fees            hours    R. Rawls fees   hours        fees           hours        fees       hours     Brad R. fees   hours         fees        hours

 2
 3   $   105.00        3.80 $     665.00                $         -             1.40 $ 245.00           $           -                  $      -     0.40
 4   $        -       19.40 $   3,395.00                $         -                  $     -            $           -             1.70 $ 297.50     1.60
 5   $   280.00       36.90 $   6,457.50           3.80 $    665.00             4.50 $ 787.50      1.30 $      227.50             1.70 $ 297.50     1.50
 6   $        -        1.90 $     237.50                $         -                  $     -            $           -             0.60 $ 75.00      0.50
 7   $        -             $          -                $         -                  $     -            $           -                  $      -
 8   $        -             $          -                $         -                  $     -            $           -                  $      -
 9   $        -             $          -                $         -                  $     -            $           -                  $      -
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         DE       DF              DG            DH           DI          DJ         DK          DL        DM         DN        DO          DP

                                                                      B.                     D.
             Schuchmann     Schuchmann      Scotts Hill Scotts Hill   Stewart   B. Stewart   Stewart   D. Stewart Stoops                 Tate
1 Salem fees hours          fees            hours       fees          hours     fees         hours     fees       hours    Stoops fees   hours

 2
 3   $    70.00         1.10 $     192.50              $         -              $       -        0.10 $ 17.50          1.00 $   175.00      0.50
 4   $   280.00              $          -         0.70 $     122.50        0.70 $   122.50       1.20 $ 210.00         0.80 $   140.00      5.70
 5   $   262.50        24.40 $   4,270.00         0.60 $     105.00        0.50 $    87.50       2.30 $ 402.50        12.70 $ 2,222.50      3.50
 6   $    62.50         1.00 $     125.00              $         -         0.50 $    62.50       0.30 $ 37.50          0.40 $    50.00      0.40
 7   $       -               $          -              $         -              $       -             $     -               $       -
 8   $       -               $          -              $         -              $       -             $     -               $       -
 9   $       -               $          -              $         -              $       -             $     -               $       -
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         DQ         DR       DS       DT       DU            DV            DW            DX             DY         DZ         EA          EB

                                                        University
                  Tulsa              Walco              Wodds         University                                  Witt                 Zeisler
1 Tate fees       hours   Tulsa fees hours Walco fees   hours         Wodds Fees    Wilson hours   Wilson fees    hours Witt fees      hours

 2
 3   $    87.50          $      -          $        -                  $        -                  $          -    0.90 $     157.50       2.10
 4   $   997.50     1.70 $ 297.50          $        -                  $        -                  $          -    2.30 $     402.50       1.60
 5   $   612.50     1.50 $ 262.50     1.00 $   175.00             1.20 $   210.00             1.80 $     315.00    3.60 $     630.00       3.00
 6   $    50.00     0.60 $ 75.00      0.70 $    87.50                  $        -                  $          -    0.50 $      62.50       0.60
 7   $        -          $      -          $        -                  $        -                  $          -         $         -
 8   $        -          $      -          $        -                  $        -                  $          -         $         -
 9   $        -          $      -          $        -                  $        -                  $          -         $         -
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         EC               ED                  EE


                   Total hours per      Total fees per
1 Zeisler fees     Atty/Para            Atty/Para

 2
 3   $    367.50                136.0      $23,800.00
 4   $    280.00                312.7      $54,722.50
 5   $    525.00                599.4     $104,895.00
 6   $     75.00                 93.6      $11,700.00
 7   $         -                  0.5          $87.50
 8   $         -                  4.6        $805.00
 9   $         -                106.1      $18,567.50
10
11                             1252.9     $214,577.50




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